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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


  CODE-TO-LEARN FOUNDATION D/B/A
  SCRATCH FOUNDATION,

        Plaintiff,
                                                        Civil Action No. 1:19-cv-00067
  v.

  SCRATCH.ORG, an Internet domain name,

        Defendant.


                                STIPULATION OF DISMISSAL

       Pursuant to the Federal Rules of Civil Procedure 41(a)(1)(A)(ii) and the parties’

agreement to dismiss this matter based on a settlement, Plaintiff Code-To-Learn Foundation

d/b/a Scratch Foundation and Defendant Scratch.org, by and through undersigned counsel,

hereby stipulate that all claims brought in this Action are dismissed with prejudice. The parties

further stipulate that each party shall bear its own costs, expenses and attorneys’ fees.
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SO STIPULATED:

Dated: October 17, 2019

 WILEY REIN LLP                              DUNLAP BENNETT & LUDWIG PLLC



  /s/ Attison L. Barnes, III /s/              /s/ David Ludwig /s/
 Attison L. Barnes, III (VA Bar No. 30458)   David Ludwig (VSB No. 73157)
 David E. Weslow (pro hac vice)              DUNLAP BENNETT & LUDWIG PLLC
 Ari S. Meltzer (pro hac vice)               211 Church Street SE
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 (202) 719-7000                              Counsel for Defendant
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 Counsel for Plaintiff
 Code-To-Learn Foundation
 d/b/a Scratch Foundation




SO ORDERED:



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                                CERTIFICATE OF SERVICE


       I hereby certify that on October 17, 2019, a true and correct copy of the foregoing

STIPULATION OF DISMISSAL was filed with the Clerk of Court using the CM/ECF system,

which will send a Notification of Electronic Filing (NEF) to all counsel of record.



                                                   /s/ Attison L. Barnes, III /s/
                                                 Attison L. Barnes, III (VA Bar No. 30458)
                                                 David E. Weslow (pro hac vice)
                                                 Ari S. Meltzer (pro hac vice)
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                                                 Attorneys for Plaintiff Code-To-Learn
                                                 Foundation d/b/a Scratch Foundation




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